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                      IN THE UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF DELAWARE

In re:
                                                      Chapter 11
LUCKY’S MARKET PARENT COMPANY,
LLC, et al.,                                          Case No. 20-10166 (JTD)

                 Debtors.                             (Jointly Administered)


                    ORDER SCHEDULING OMNIBUS HEARING DATES

         Pursuant to Del. Bankr. LR 2002-1(a), the Court schedules the following omnibus

hearing dates:

                                   May 27, 2020 at 10:00 a.m. (Eastern Time)
                                    [Location: 5th Floor, Courtroom No. 5]

                                   June 24, 2020 at 10:00 a.m. (Eastern Time)
                                     [Location: 5th Floor, Courtroom No. 5]




                                                            JOHN T. DORSEY
         Dated: March 13th, 2020                            UNITED STATES BANKRUPTCY JUDGE
         Wilmington, Delaware


72761617.1
